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UNITED STA TES DIS TRICT Co URT §§ V/z
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ERIC NASH, JUDGMENT IN A CIVIL CA§E€;?@§/`
Plaintiff,
v.
coRRECTIONs CORPORATION CASE No: 1:03-1225-13
OF AMERICA, et al.,
Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance with the Agreed Order Of
Dismissal With Prejudice entered on July 5, 2005, this cause is hereby dismissed with prejudice.

P ROVED:

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J. ANIEL BREEN
TED STATES DISTRICT COURT

(a mg THoMAs M. GouLo
Clerk of Court

C.JM

(By) Deputy Clerk

    
 

This document entered on the docket sheet in compliance

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This notice confirms a copy of the document docketed as number 32 in
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Honorable J. Breen
US DISTRICT COURT

